        Case 16-00968-TLM Doc 45-1 Filed 11/18/16 Entered 11/18/16 14:32:56                                 Desc
                 Order Disallowing Claim of Exe: Notice Recipients Page 1 of 1
                                                    Notice Recipients
District/Off: 0976−1                      User: arutter                        Date Created: 11/18/2016
Case: 16−00968−TLM                        Form ID: odxmp                       Total: 3


Recipients of Notice of Electronic Filing:
ust         US Trustee         ustp.region18.bs.ecf@usdoj.gov
aty         Jeffrey Philip Kaufman         jeffrey@dbclarklaw.com
                                                                                                          TOTAL: 2

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Christopher M Chesnut     5305 W. Demison Ct.           Eagle, ID 83616
                                                                                                          TOTAL: 1
